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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                               Case No. 8:05-Cr-530-T-30EAJ

   YASMANY SAME



                  ORDER VACATING THE PRELIMINARY ORDER
                  OF FORFEITURE FOR SPECIFIC PROPERTY AS
                  TO 3937 VERSAILLES DRIVE, TAMPA, FLORIDA

          THIS CAUSE comes before the Court upon the filing of the United States’

   Motion to vacate the real property located at 3937 Versailles Drive, Tampa, Florida,

   (Doc. 711) which was more specifically identified on October 23, 2006, in the

   Preliminary Order of Forfeiture as to Specific Property and Order of Forfeiture

   Money Judgment (“Preliminary Order of Forfeiture”). Doc. 378.

          Being fully advised in the premises, the Court hereby finds that the subject

   real property has a negative net equity and a foreclosure action will be filed by the

   lienholder in the near future.

          The Court further finds that the United States has filed a Release of Lis

   Pendens. Accordingly, it is hereby

          ORDERED, ADJUDGED AND DECREED that for good cause shown, said

   Motion (Doc. 711) of the United States is hereby GRANTED.

          It is FURTHER ORDERED that the Preliminary Order of Forfeiture be

   vacated as to 3937 Versailles Drive, Tampa, Florida.
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            It is FURTHER ORDERED that the remainder of the Preliminary Order of

   Forfeiture remain in full force and effect.

            DONE and ORDERED in Tampa, Florida on February 24, 2011.




   Copies to:
   Counsel/Parties of Record

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